             Case 1:24-cv-10049-LJL                Document 411             Filed 07/11/25          Page 1 of 3




                                                                                                                1875 K Street, N.W.
                                                                                                                Washington, DC 20006-1238

                                                                                                                Tel: 202 303 1000
                                                                                                                Fax: 202 303 2000

July 11, 2025                The Court will hold a hearing on the scheduling of discovery in this
                             case on July 15, 2025, at 3:30 p.m. Counsel will participate by
VIA ECF                      Microsoft Teams video conference, with dial-in information provided
                             by email. The public or press may access the hearing by dialing (646)
The Honorable Lewis J. Liman
United States District Court 453-4442 and using Conference ID# 358639322.
Southern District of New York
500 Pearl Street              Date: 7/11/25
New York, NY 10007

Re:      Lively v. Wayfarer Studios LLC et al., No. 24-cv-10049 (LJL)

Dear Judge Liman:

        Plaintiff Blake Lively writes in response to the Court’s order to show cause issued on July 9,
2025. See ECF No. 403. Like the Wayfarer Parties (ECF No. 408), Ms. Lively generally has no objection
to the contemplated order outlined by the Court, but she wishes to clarify the Court’s July 25 date
referenced in the potential forthcoming order that “[a]ll document production by parties and nonparties
shall be completed by July 25, 2025. (Third-party subpoenas shall require production no later than July
25, 2025.).” Id. at 2. As described below, Ms. Lively is amenable to the schedule outlined by the Court,
including the July 25 deadline, except proposes that the Court make clear that the July 25 deadline is
without prejudice to the issuance of (1) additional written party discovery until August 29, and (2)
additional third-party document subpoenas until the close of fact discovery on September 30.

         As to party discovery, Ms. Lively respectfully proposes that the Court order that all document
production by parties shall be completed by July 25, 2025 for all issued written discovery, without
prejudice to the issuance of additional written discovery until August 29, for which production is due no
later than the close of fact discovery on September 30.1 Ms. Lively had proposed that the parties complete
document productions for issued RFPs by July 25. See ECF No. 386 at 2. The intent of this proposal was
to ensure that any documents trailing behind the “substantial completion” deadline be fully produced in
advance of depositions. This proposal would accomplish the aim of fully completing party document
discovery except for any to-be-issued written discovery, and also is intended, as the Court acknowledged,
to allow the parties to resolve document deficiencies for all such completed productions by August 1,
2025. See ECF No. 403 at 2. Ms. Lively had not intended to preclude the parties from any later,
predictably limited, requests for production and interrogatories, to be permissibly issued until August
29—that is, 30 business days prior to the close of fact discovery on September 30, 2025. See Fed. R.

1
 September 30 as a date for production is necessary to ensure that, for requests for production, parties do not simply serve
objections on September 30. To the extent parties find requests objectionable, they may serve objections in advance of
September 30 to allow for sufficient time for party conferrals. In addition, to the extent that good cause arises to issue limited
additional discovery based on deposition testimony between August 29 and September 30, Ms. Lively proposes that the
parties seek approval to propound such discovery from the Court upon a showing of good cause.



                   B RUSS ELS C HICAGO D ALLAS F RANKFURT H OUSTON L ONDON L OS A NGELES M ILAN
                       M UNICH N EW Y ORK P ALO A LTO P ARIS R OME S AN F RANCISCO W ASHINGTON
            Case 1:24-cv-10049-LJL                Document 411
                                                           409            Filed 07/11/25          Page 2 of 3




Civ. P. 33(b)(2) (30 days as default response time); Fed. R. Civ. P. 34(b)(2)(a) (same). Ms. Lively
therefore submits it would be appropriate for the Court so-order both the July 25 and August 29 dates
laid out above, to require timely production of all party document discovery issued (comprising the vast
majority of all party document discovery), while also allowing the parties to complete any final written
discovery requests arising from the parties’ July 1 productions and with the benefit of any additional
discovery that may be obtained from third parties or depositions through August 29.

        As to third-party discovery, Ms. Lively respectfully submits that the Court’s July 25 deadline for
third-party productions should apply to all noticed subpoenas in order to facilitate those productions, 2
without prejudice to additional third-party document discovery through the close of fact discovery on
September 30 (for which production is required 14 days after service). Ms. Lively had not proposed any
interim date for completion of third-party document discovery, on the understanding that such discovery
would be warranted and permissible until the close of fact discovery. Given the deficiencies in the
Wayfarer Parties’ document productions to date, Ms. Lively anticipates that depositions will yield further
information critical to her claims—such as regarding vendors, digital teams, or Content Creators
deployed by the Wayfarer Parties in connection with the retaliatory campaign—which in turn will
warrant the issuance of third-party document subpoenas after July 25. While Ms. Lively has been
actively pursuing third-party discovery (and indeed, has provided notice of more than 60 document
subpoenas to date, Bender Decl. ¶ 9), she simply has not been afforded the discoverable information
through documents to have concluded such third-party discovery before depositions have taken place.
Alternatively, to the extent that the Court is nevertheless inclined to impose July 25 as a final date for
third-party discovery that precludes the issuance of additional third-party document subpoenas
essentially as of now, Ms. Lively asks that the Court make clear that additional third-party discovery
may take place through the close of fact discovery on September 30 on a showing of good cause for that
discovery.




2
  Ms. Lively has drawn the distinction between noticed subpoenas and served subpoenas as she intends to imminently file
motions for alternative service at least as to: Cynthia Barnes-Slater, Dervla Mcneice, and Perez Hilton (Mario Lavandeira).
Counsel for the Wayfarer Parties “do not represent these individuals and therefore have no authority to accept service on their
behaves [sic].” Declaration of Kristin E. Bender (“Bender Decl.”) ¶¶ 8, 9, Exhibit A. The Wayfarer Parties’ counsel made
similar representations that they did not represent third party Matthew Mitchell—going so far as to even require this Court to
rule on a motion for alternate service as to that third party. See Bender Decl. ¶¶ 3–6; see ECF No. 356. Yet after the Court
issued its order approving alternative service, counsel revealed that they do represent Mr. Mitchell. Bender Decl. ¶ 6. It
appears that Mr. Freedman currently represents at least Mr. Hilton (Lavandeira), yet has not responded to requests for service
to be accepted on his behalf. See, e.g., Perez Hilton (@theperezhilton), INSTAGRAM, Blake Lively subpoenaed me? My
response:, at 2:24 – 2:32 (July 4, 2025), https://www.instagram.com/reel/DLnV9RgPqXV/?igsh=djRubG5jd25vcDhq (Perez
Hilton: “I have not been served with anything yet. And I also have not communicated with my lawyer, Bryan Freedman,
about this ….”); Perez Hilton (@theperezhilton), INSTAGRAM, I just scored a win in my legal battle against Blake Lively!!!!,
at 2:30 – 2:54 (July 10, 2025), https://www.instagram.com/reel/DL7w7LqR0St/?igsh=MTdmbTdtNjMwcWoydw==
(Hilton taunting that he has not been served and will not be accounted for under this Court’s proposed schedule for July 25).
If the Court wishes the July 25 deadline for third-party production to apply only for served (not merely noticed) subpoenas,
Ms. Lively respectfully seeks that the Court additionally require a deadline for production of 14 days for any subpoenas that
have been noticed but not yet served.




                                                            -2-
Case 1:24-cv-10049-LJL   Document 411
                                  409    Filed 07/11/25       Page 3 of 3




                                 Respectfully submitted,

                                 /s/ Michael J. Gottlieb

                                 Michael J. Gottlieb
                                 Kristin E. Bender
                                 Willkie Farr & Gallagher LLP
                                 1875 K Street NW
                                 Washington, DC 20006
                                 (202) 303-1000
                                 mgottlieb@willkie.com
                                 kbender@willkie.com

                                 Aaron E. Nathan
                                 Willkie Farr & Gallagher LLP
                                 787 Seventh Avenue
                                 New York, NY 10019
                                 (212) 728-8000
                                 anathan@willkie.com

                                 MANATT, PHELPS & PHILLIPS, LLP
                                 Esra A. Hudson (pro hac vice)
                                 Stephanie A. Roeser (pro hac vice)
                                 Manatt, Phelps & Phillips LLP
                                 2049 Century Park East, Suite 1700
                                 Los Angeles, California 90067
                                 (310) 312-4000
                                 ehudson@manatt.com
                                 sroeser@manatt.com

                                 Matthew F. Bruno
                                 Manatt, Phelps & Phillips, LLP
                                 7 Times Sq.
                                 New York, NY 10036
                                 (212) 790-4500
                                 mbruno@manatt.com

                                 DUNN ISAACSON RHEE LLP
                                 Meryl C. Governski (pro hac vice)
                                 401 Ninth Street, NW
                                 Washington, DC 20004
                                 (202) 240-2900
                                 mgovernski@dirllp.com

                                 Attorneys for Blake Lively



                               -3-
